Case 1:13-cr-00095-MJT         Document 284           Filed 12/10/13   Page 1 of 2 PageID #: 833




                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                BEAUMONT DIVISION


 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §         CASE NO. 1:13-CR-95(14)
                                                  §
 MICHAEL SULLIVAN                                 §



         ORDER ADOPTING FINDINGS OF FACT AND RECOMMENDATION
                     ON DEFENDANT’S GUILTY PLEA

        After conducting a proceeding in the form and manner prescribed by Fed. R. Crim. P. 11,

 the Honorable Zack Hawthorn, United States Magistrate Judge, made and filed Findings of Fact and

 Recommendations regarding the Defendant’s plea of guilty to Count One of the Information in the

 above-numbered case. The Magistrate Judge accepted the Defendant’s guilty plea, recommends that

 the Defendant be adjudged guilty of the offense to which he pleaded guilty, and recommends that

 the court defer acceptance of the plea agreement until after the court has had an opportunity to

 review the presentence report.

        The parties have not objected to the magistrate judge’s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of the United States Magistrate Judge are

 ADOPTED. The court accepts the Defendant’s plea, but defers acceptance of the plea agreement

 until the court has reviewed the presentence report.

        It if further ORDERED that, in accordance with the Defendant’s guilty plea and the




                                                -1-
Case 1:13-cr-00095-MJT        Document 284          Filed 12/10/13   Page 2 of 2 PageID #: 834




 magistrate judge’s findings and recommendation, the Defendant is adjudged GUILTY of the

 offense alleged in Count One of the Information.


             So ORDERED and SIGNED this 10 day of December, 2013.




                                                           ___________________________________
                                                           Ron Clark, United States District Judge




                                              -2-
